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 1 LANCE A. ETCHEVERRY (SBN 199916)
   lance.etcheverry@skadden.com
 2 ABRAHAM A. TABAIE (SBN 260727)
   abraham.tabaie@skadden.com
 3 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
   525 University Avenue
 4 Palo Alto, California 94301
   Telephone: (650) 470-4500
 5 Facsimile: (650) 470-4570

 6 Attorneys for Plaintiff
   FLANNERY ASSOCIATES LLC
 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10 Flannery Associates LLC,                             Case No.: 2:23-cv-00927-TLN-AC
11                 Plaintiff,                           PLAINTIFF FLANNERY ASSOCIATES
                                                        LLC’S RULE 7.1 DISCLOSURE
12          v.                                          STATEMENT
13 Barnes Family Ranch Associates, LLC,
   Lambie Ranch Associates, LLC, Kirby Hill
14 Associates, LLC, Barnes Family Ranch
   Corporation, Lambie Ranch Corporation,
15 Kirby Hill Corporation, Kirk Beebe, Susan
   Beebe Furay, Murray Bankhead (individually
16 and as trustee for the Baumbach Family Trust),
   Michael Rice (individually and as trustee for
17 the Rice Family Trust);

18 Christine Mahoney Limited Partnership,
   Christine Mahoney Limited Partnership
19 Management Company, Emigh Land LP, El
   General Partner, LLC, Christine Mahoney
20 (individually and as trustee of the Mahoney
   2005 Family Trust), Daniel Mahoney
21 (individually and as trustee of the Mahoney
   2005 Family Trust);
22
   Ian Anderson (individually and as trustee of the
23 Ian and Margaret Anderson Family Trust),
   Margaret Anderson (individually and as trustee
24 of the Ian and Margaret Anderson Family
   Trust), Neil Anderson, Maryn Anderson,
25 William Dietrich (individually and as trustee of
   the Child’s Trust FBO William C. Dietrich, a
26 subtrust under the Trust of William C. Dietrich
   and Ivanna S. Dietrich), Paul Dietrich
27 (individually and as trustee of the Child’s Trust
   FBO Paul S. Dietrich, a subtrust under the
28 Trust of William C. Dietrich and Ivanna S.

     _______________________________________________________________________________________________
                     FLANNERY ASSOCIATES LLC’S RULE 7.1 DISCLOSURE STATEMENT
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 1 Dietrich), John Alsop (individually and as
   trustee of the John G. Alsop Living Trust),
 2 Nancy Roberts (individually and as trustee of
   the Nancy C. Roberts Living Trust), Janet
 3 Zanardi (individually and as trustee of Trust A
   under the Zanardi Revocable Trust), Ronald
 4 Gurule (individually and as trustee of the
   Ronald Gurule 2013 Family Trust), Richard
 5 Anderson (individually and as trustee of the
   REA Properties Trust), David Anderson
 6 (individually and as trustee of the Irwin E.
   Anderson Survivor’s          Trust),   Deborah
 7 Workman (individually and as trustee of the
   Irwin E. Anderson Survivor’s Trust), Carol
 8 Hoffman (individually and as trustee of the
   Irwin E. Anderson Survivor’s Trust), Ned
 9 Anderson (individually and as trustee of the
   Ned Kirby Anderson Trust), Neil Anderson,
10 Glenn Anderson, Janet Blegen (individually
   and as trustee of the Janet Elizabeth Blegen
11 Separate Property Trust), Robert Anderson
   (individually and as trustee of the Robert Todd
12 Anderson Living Trust), Stan Anderson, Lynne
   Mahre, Sharon Totman, Amber Bauman,
13 Christopher Wycoff;

14 and JOHN DOES 1-50,

15                 Defendants.
16

17

18    PLAINTIFF FLANNERY ASSOCIATES LLC’S RULE 7.1 DISCLOSURE STATEMENT

19          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, plaintiff Flannery Associates

20 LLC discloses that Flannery Associates LLC is a wholly owned subsidiary of Flannery Holdings

21 LLC.

22

23 DATED: May 18, 2023                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
24
                                         By:             /s/ Abraham A. Tabaie
25                                                       Abraham A. Tabaie
                                                         Attorneys for Plaintiff
26                                                       Flannery Associates LLC
27

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     _______________________________________________________________________________________________
                     FLANNERY ASSOCIATES LLC’S RULE 7.1 DISCLOSURE STATEMENT
